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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

UNITED STATES OF AMERICA                        )
                Plaintiff                       )
                                                )
v.                                              )       Docket No.: 2:19-cr-67-DBH
                                                )
JESSICA CHILDS                                  )
                        Defendant               )

                                    MEMORANDUM OF LAW
                                    IN AID OF SENTENCING

        Here comes the Defendant, Jessica Childs, by and through the undersigned counsel, and

respectfully submits this Memorandum of Law in Aid of Sentencing to assist the Court at

Defendant’s upcoming Sentencing Hearing scheduled for January 8, 2020.

I.      Background

        While Jessie’s crime here is substantial and egregious, her remorse for the same is equally

immense. In fact, in November 2015, after her crime was discovered, Jessie Childs swallowed all of

her prescription medications; she walked into the Kennebec River, determined not to walk out

again. The freezing water climbed to her waist. The current was so fierce, it nearly pulled her straight

down. She decided she would just float down the river until it swallowed her; the coldness of water

took her breath away. It made her toes numb; soon she could not feel her legs, her body.

Fortunately, her mind was no longer numb. She thought of her children, her husband, her friends at

Women’s Unlimited, her shame, her remorse. Tears streamed down her face as she shivered freezing

in the water. Suddenly, she realized that she could not go through with it. That she could not take

this way out and leave everyone around her to suffer even more consequences because of her

actions. She had to face it. She tried to swim in; but the current was so strong she could barely

move. Nonetheless, Jessie forced her way to the shore and her car, and called 911. She admitted




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 herself to the psychiatric hospital. She began treatment. After so many wrongs, Jessie Childs began

 to do the right thing.

     a. The Fraud

        Jessie spent her childhood in a web-spun lie that spanned to her family members and

neighbors, with everyone “in the know” but her. Her parents were severe alcoholics and Jessie

suffered with their addiction. She worked hard in school as her only escape from the stress, alcohol,

abuse, and deceit. Her mother showed no inclination towards love, warmth or kindness and

repeatedly chose alcohol and men over Jessie. And although Jessie survived her childhood, she did

not escape unscathed.

        Women’s Unlimited was both a dream job and a curse for Jessie. The dream was working on

an important cause with people she cared about, even loved. CEO Lib Jameson became like the

mother Jessie never had; someone who actually depended on her, trusted her, and even cared for her.

Unbeknownst to Jessie, however, the stress and her untreated childhood traumas, became too much

for her. As she began to take on more and more responsibility at work, often left with the task of

essentially running the company, the stress became too much. Instead of turning to drink like her

parents had before her, however, she turned to fraud. First it was just a little here and there to help

pay this bill or that—to get a small amount of breathing room and in the meantime feel as if she was

exercising some control when everything else felt like it was spinning. Soon the fraud took on a life of

its own, consuming her every waking moment as she tried to keep it in check, determined she would

somehow pay it all back before it was noticed. Her deceit was tragic and, while it may have seemed

inexplicable, to Jessie’s traumatized and ill mind, it was also pre-ordained in some way: Jessie’s

destiny, at least according to what her mother had told her all her life, to be a worthless and

troublesome being who ruined the lives of those around her and those whom she most loved was

finally coming to fruition.

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         The conscious Jessie thought she would repay her debts, and that her employer and friends

would escape her fraud unscathed. But the fraud continued and with each passing day the web of lies

got bigger and bigger in order to keep the scheme afloat. People were hurt and, finally, Jessie was

exposed. Her regret, shame and fear was so great that she attempted to take her own life. Indeed, she

got very close—so close as to be floating down the Kennebunk River on a cold November day—but

she fought her way back. She faced her family and her friends and she now faces the Court and the

victims of her actions, accepting full responsibility for everything she has done.

     b. Personal History

      Jessie grew up as an only child to Wayne Bailie and Margaret Parker. Throughout her youth, her

parents were chronic and severe alcoholics. Jessie witnessed many iniquities related to their

alcoholism, including domestic abuse. Her father was arrested no less than three times for driving

while intoxicated. Young Jessie was a passenger in the car during two of these arrests. As a child Jessie

saw her mother, intoxicated and screaming with rage, attack a police officer and get arrested. Jessie

walked in on her father having sexual relations with another woman in their home. Jessie witnessed

her father, in a drunken rage, grab her beloved kitten and throw it out the window where it landed on

the lit grill and died.

      Jessie’s mother was cold, distant and cruel to Jessie. She treated Jessie as worthless and

frequently told her she was so.1 When Jessie was 15 years old her mother dropped her off at a sleep-

over a Jessie’s best friend’s home. As Jessie opened the car door to get out, her mother casually

turned, looked at her with disdain, and informed her that Wayne was not her real father. She told

Jessie that in fact Earl, her best friend’s father, was Jessie’s biological dad and everyone knew except

Jessie. Then her mother just drove away. Jessie soon learned that, in-fact, almost everyone else in her



 1Her mother has since been diagnosed with bi-polar disorder, but this was not diagnosed at the time. Jessie has little to
 know contact with her mother now.

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family and community had known about Earl – everyone except her. Earl also was a drunk and a

ne’er-do-well. Jessie was devastated and had no outlet for her grief of confusion. Looking back Jessie

realizes that at that impressionable age she felt that her life to that point was a fraud; Jessie then

understood herself to be a fraud and to be the worthless creature her mother claimed she was. Only

after her crimes here, and choosing to face the consequences of her actions, is Jessie now realizing

that she does not have to fulfil her mother’s prophecy.

       Jessie turned to school, feeling that was the only escape. She never developed any relationship

with her biological father. Her mother continued to treat her with disgust and disdain. Knowing no

better, Jessie felt more and more that this horrible treatment was deserved.

      Finally, when Jessie was around 17 years old, her father Wayne got himself sober. He remains

so to this day. Jessie’s mother, however, had no intention of becoming sober and did not like Wayne

being so. She separated from Wayne. Teenager Jessie continued to live with her mother. Their rolls

flipped—Jessie became the parent, trying to keep her mother safe and help her stay out of trouble.

Unfortunately, this was to no avail. The very day that Jessie’s mother and Wayne’s divorce became

official, Jessie’s mother married Tim, whom she had had met online. Tim was just 19, nearly the same

age as Jessie herself.

      Unsurprisingly, Tim had entered Jessie’s mother’s life for deceit. He took advantage of her

mother financially and emotionally. Jessie watched Tim manipulate and make a fool of her mother

over and over. When she learned that Tim was cheating on her mother too, Jessie told Tim to get out

of her mother’s house. Jessie’s mother became infuriated that Tim was gone, and blamed Jessie for

his departure. Jessie’s mother then became severely depressed and attempted suicide. Jessie tried to

help and, because she could not help, to stay out of the way.

      Jessie eventually was able to leave her mother’s house and go to college. Her father had stayed

sober and apologized to Jessie for his past behavior. Jessie knew his remorse was sincere, appreciated

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his ability to apologize, and forgave him. Their relationship is strong and he remains a loving and

stable presence in Jessie’s life.

      C. Current Family History

      Jessie met her husband, Brent Childs, 18 years ago and they have been married for 17 years. He

was also a victim of Jessie’s crime, blind-sided when the truth came out. Brent has since watched

Jessie’s hard work to get help for her emotional illness, and watched her struggle these past 4 years

with her crushing remorse and efforts to atone.

      The stress has affected all their lives. Just weeks before sentencing was originally set in this

matter in October 2019, the stress got too much for Brent and he suffered a heart attack and was

hospitalized. He thankfully recovered, but the anxiety on all involved is undeniable. Brent continues

to have to take great care with his stress levels and his health remains at risk. Jessie’s remorse and

self-punishment grows as she sees her family continue to suffer for her crimes. More so because she

knows the other victims are also suffering in the same way.

      Jessie and Brent have two children, S and J.2 J is a full-time student. J is aware that his mother

has pled guilty and is pending sentencing. His support of and love for his mother is unwavering. S is a

teenager who lives with her parents. She also knows what has happened with her mother. S is

extremely close to her mother and these events have been devastating to her.

      As reflected above, On November 2, 2015, Jessie consumed all of her prescription medication

and walked into the Kennebec River with the intent to take her own life. Thankfully her spirit

intervened and she managed to get out of the river and call 911. From there, she was taken to the

emergency room and admitted into Spring Harbor hospital. Jessie remained in acute mental care at

the hospital for 6 days before discharge. She then attended and completed an intensive outpatient



 2 To avoid naming the children, one of whom is a minor, in this publicly filed document, counsel will use their first
 initials.

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mental health program. She also began to see a psychologist, Barbara Cummings, on a weekly basis.

The frequency of that treatment was later reduced to bi-weekly, monthly and then on an as-needed

basis.3

      In the early stage of that treatment, Jessie was diagnosed with major depressive disorder and

obsessive-compulsive disorder. Dr. Cummings reported that Jessie suffered from a significant

amount of anxiety and had experienced a “chaotic, abusive childhood household.” She noted that

Jessie felt “hopeless, worthless and anxious.”

      Jessie’s treatment goals included resolving her suicidal ideations and examining her childhood

trauma and how it impacted on her current functioning. Another goal was for Dr. Cummings to help

Jessie understand why, in committing the instant offense, she had behaved in a way that was so

inconsistent with her values. It was only after working extensively on her mental health that Jessie

was able to see that, in addition to her mother’s alcoholism, her mother and maternal grandmother

also undoubtedly suffered from a myriad of mental health ailments, such as depression, anxiety,

agoraphobia, possible bipolar disorder, suicidal ideations and post-traumatic stress disorder.

      Records show that during the extended period of time Jessie has been in treatment, she

acknowledged repeatedly feeling great remorse about her wrongful actions. True to form, Jessie

expressed real concern about the negative impact that her actions would have on her family, and was

less concerned with her own outcomes. Dr. Cummings has provided the Court with a letter that

details these challenges and their impact on Jessie and her actions.

          II.      Application of the Section 3553 Sentencing Factors

          This Court is tasked with imposing a sentence on Jessie and, although, a Guideline Sentencing

Range must be calculated, this range is no longer binding on the Court. United States v. Booker, 543



 3Recognizing the potentially triggering nature of the impending sentencing, Jessie initiated more regular meetings with
 her therapist – a sign that she now knows how to take care of herself and her mental health needs.

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U.S. 220 (2005); Gall v. United States, 128 S.Ct. 586 (2007); Kimbrough v. United States, 128 S.Ct. 558

(2007). Instead, the Court must impose a sentence that is sufficient but not greater than necessary to

serve the purposes listed in 18 U.S.C. §3553(a). There are many factors in this case that support a

substantial variant sentence, including Jessie’s traumatic family history, her own mental health

struggles, her family—and in particular her minor daughter’s—needs, her pretrial cooperation and

early restitution payment, the lengthy amount of time that has passed since the end of her criminal

activity, and her current hard-fought employment that has enabled further restitution payments to

escrow pending sentencing.

        A.       Family History

        Jessie’s family history as described above, her own mental health issues, and her hard work

and achievements on her mental health, suggest that a substantially variant sentence is appropriate in

this case. While not an excuse for her crimes, the Court must consider the substantial role her

upbringing and her mental health had on her crimes. In doing so, it should also look to the

substantial progress she has made to address these issues to assure they never again arise. The Court

should consider her volunteer work in the school system and the serious needs of her daughter, as

well as Jessie’s attitude and the attributes that lead her to continue to try over and over to secure

employment in order to begin to continue her family and restitution obligations.

        B.       Criminal History and Pretrial Compliance

        Jessie’s lack of criminal history is an important factor for the Court to consider at sentencing.

She is not only a criminal history category I, but she is a true first-time offender. As this Court

knows, true first-time offenders rarely appear before it. This is particularly true in Jessie’s case where

her first offense did not occur until she was almost 40 years old. This factor combined with her

substantial work on the mental health issues that contributed to her crime, is good evidence that she

is unlikely to commit any further crimes.

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         Jessie has known of the likelihood of a criminal investigation since very early on in this

matter. Initially an assumption, the Government specifically stated its plans to investigate years ago.

Jessie was fully compliant with this investigation at all times, and in April 2019 plead guilty by way of

Information. At that time, she was determined to be a minimal risk by the Court. Resultantly, she was

released on a personal recognizance bond with pretrial supervision. Over these last nine months, she

has fully complied with all of her release conditions.

        In fact, at the time of her plea, Jessie voluntarily self-reported the instant offense to her then-

current employer, Staples. When doing so, she was fully aware of the possibility that doing so likely

would result in her being terminated from her position of General Manager. However, she was

determined that her life should be free of deceit and so she reported to her employer. Although an

automatic internal investigation found no infractions or instances of misconduct of any kind during

her three years of employment with Staples, company policy mandated her termination after she self-

reported her crime and guilty plea.

        Jessie’s offense ended in October 2015, over four years ago. During those four years, Jessie

has worked hard at making positive changes in her life and facing the consequences of her crime. As

soon as her mental health care providers deemed her ready, she began to look for work. She was able

to secure a job at Staples to help support her family and to begin to pay back the loans she took out

to pay the WU restitution. She was exceptional in that job, despite her continued hard work on her

mental health issues and the stress of the criminal investigation. At Staples, she was promoted no less

than three times in 3 years, rapidly ascending to the position of General Manager.

        After Jessie pled guilty and Staples terminated her, she was gutted again. Her family needed

her income for support and to pay back the loans for her prior restitution payment; she needed to be

a productive member of society, as well as money for additional restitution that she knew was

forthcoming. And so, even with sentencing set for just a few months later, Jessie began to apply again

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for work. She applied over and over and was rejected over and over; before she landed her current

job she had sent out of 50 different job applications. Finally a recruitment officer at Target posted a

position. She applied and made it to the interview stage. She again was honest with the recruitment

officer about her crime and guilty plea.4 She was hired and finally began working for Target at the

beginning of November 2019. Jessie anticipates that if she goes to prison for a lengthy period of

time, she most certainly will lose her employment. Her hope is that a shorter prison term might allow

her to keep her position.

        The combination of these factors is noteworthy and extremely rare compared with the vast

majority of defendants who appear before this Court. Accordingly, we urge the court to give them

strong consideration when determining what level of punishment is appropriate in this matter. We

also ask the Court to consider the length of time that this matter has been pending—over four years.

While many factors contributed to this delay, including extension requests from Ms. Childs due to

her husband’s recent heart attack and other matters, the stress of this case looming over her has been

a constant source of anxiety, and has been a punishment in and of itself. Like the proverbial

albatross, Ms. Childs has carried her sincere remorse and extreme guilt around with her these past

several years. While the victims here undoubtedly also feel great stress from their delayed sense of

justice, the same maxim applies to Jessie.

        C.       Cooperation and Early Payment of Restitution

        Immediately after the discovery of her crimes in October 2015, Jessie began cooperating with

 the internal investigation into her wrongdoing. She went into Women’s Unlimited and worked with

 the analyst to attempt to reconstruct her fraud to show them where the money went. This was

 before court involvement, before police involvement, before counsel involvement. Most defendants

 are unwilling to act in such a responsible manner, probably because it would require them to




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acknowledge their illegal behavior even before criminal charges had been brought. Jessie knew this,

but she also knew that she had to finally begin to do the right thing. Since October 2015, Jessie has

tried to squarely face the consequences of her actions.

        Further along those lines, Jessie made arrangements to pay $60,000 of restitution to WU

immediately. As this Court knows, it is almost unheard of for an individual to make such a

significant amount of restitution to the victim prior to the commencement of the criminal case.

Jessie made restitution payments without the benefit of any forensic analysis from WU. The parties

agreed to an amount of $60,000 at that time, knowing the amount could increase.5 The payment of a

substantial amount of restitution is certainly noteworthy, particularly when compared to most

defendants who appear before this Court.

        Moreover, Jessie recently secured yet another job in the hopes of being able to make

continued restitution payments. She has begun sending money to counsel to hold in an escrow

account pending sentencing. By the date of sentencing, she will have approximately $800 in

additional restitution, which constitutes about $100/week from her paycheck since she secured new

employment in November 2019. She plans to increase this amount after sentencing should she be

able to continue with her employment. Jessie and her family took loans in order to pay off the

original $60,000 in restitution, and continue to pay on those loans. Jessie is determined to make

amends in any way she can. The unfortunate fact of the matter is that if Jessie is incarcerated and

unable to work, she will be unable to pay any further restitution during that time and likely for some

time thereafter considering the length of time it took her to secure employment after the plea. Now,

with an actual felony conviction for fraud, finding employment will be even harder.




5 At the time WU believe the fraud amount was significantly higher, but did not have the ability to share the forensic
information with Jessie at that time. The parties therefore agreed on a sum of $60,000.

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      III.       Conclusion

        The defense recognizes that this is a difficult case regarding sentencing. Jessie committed a

fraud that lasted years and did it, no less, against those that trusted her most. She makes no excuses

for her actions. She offers only sincere apologies and a desire to continue to try to make things right

through restitution and hard work. She hopes that one day her former co-workers and friends can

find a way to forgive her. As this is a Class B felony, the Court is required to impose a sentence of

incarceration.

         Jessie asks that after the Court has thoroughly reviewed all of the factors in this case, it

 impose a variant sentence substantially below the guideline sentencing range. Booker, Gall, Kimbrough

 and their progeny, and the requirement of 18 U.S.C. §3553(a) dictate that a sentence must be

 sufficient but not greater than necessary “to achieve the purposes of punishment.” Jessie’s crime was

 egregious and must be punished. A lengthy incarcerative sentence, however, will not be an

 appropriate punishment in this matter. First, any term of imprisonment will delay the remainder of

 the restitution that Jessie owes, this is particularly true if the term means that Jessie is terminated

 from yet another job. But, perhaps most significantly is that a lengthy prison sentence will have

 devastating effects on Jessie’s family and particularly her vulnerable minor daughter. Jessie asks that

 the Court impose a one-month sentence, followed by a lengthy period of home confinement of 14

 months, for a total sentence of 15 months. The idea of even this period of incarceration terrifies

 Jessie, although she understands why she deserves such a sentence. This time in prison followed by

 14 months of home confinement will be a severe punishment that in this instance will capture the

 needs for general and specific deterrence, as well as retribution. It will also consider the many

 mitigating factors at play here, as well as the concepts of rehabilitation which the Court should also

 consider here in light of Jessie’s exceptional behavior in these 4.5 years following her criminal




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activity. Such a sentence contemplates the particularly fragile mental health of Jessie’s teenage

daughter and allows for Jessie to continue to pay back the restitution outstanding in this matter.




        Dated: January 2, 2020                          /s/ Stacey D. Neumann
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                                      CERTIFICATE OF SERVICE

               I hereby certify that on this date, I electronically filed this Sentencing Memorandum with

the Clerk of Court using the CM/ECF System which will send notice of such filing to all parties of

record. This document is available for viewing and downloading from the CM/ECF System.



       Dated: January 2, 2020                           /s/ Stacey D. Neumann

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